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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

RICKY SWIFT,                               )
                                           )
                    Petitioner             )
             v.                            )   CAUSE NO. 3:04-CV-758 RM
                                           )    (arising under 3:99-CR-44(01) RM)
UNITED STATES OF AMERICA,                  )
                                           )
                    Respondent             )

                                 OPINION AND ORDER

      Ricky Swift filed a notice of appeal and moves this court for in forma

pauperis status, as well as a certificate of appealability. It appears from Mr. Swift’s

motion and financial declaration that he has met the requirements set forth in 28

U.S.C. § 1915. However, issuance of a certificate of appealability requires the

court to find that Mr. Swift has made “a substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2), which he has not. Mr. Swift seeks

appellate review of the court’s June 7 order denying his Rule 59 motion, which

asked this court revisit issues already raised in his first § 2255 petition and

address new claims via a new § 2255 petition. As stated in the June 7 order, the

court has no jurisdiction to readdress claims from his first § 2255 petition nor

address new claims in a new § 2255 petition without an order from the court of

appeals authorizing the court to do so. Consequently, the June 7 order cannot

serve as the basis for issuing a certificate of appealability.

      Mr. Swift’s motion for in forma pauperis status is GRANTED [Doc. No. 221],

but his request for a certificate of appealability is DENIED [Doc. No. 222].
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     SO ORDERED.

     ENTERED: August 16, 2006

                                    /s/ Robert L. Miller, Jr.
                                    Chief Judge
                                    United States District Court




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